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GLOBAL NOTES TO SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS OF
    DEBTORS, STREAM TV NETWORKS, INC., CASE NO. 23-10763(mdc) AND
 TECHNOVATIVE MEDIA, INC., CAUSE NO. 10764 (Joint Administration Requested)

The Debtors develop their technology and conduct the majority of their business through their
direct and indirect foreign and domestic subsidiaries. The Debtors provided capital to their direct
and indirect foreign and domestic subsidiaries for the purpose of acquiring and developing assets
and to conduct business operations. The Debtors direct interested parties to the Declaration of
Mathu Rajan in Support of Stream TV Networks, Inc. and Technovative Media, Inc. Chapter 11
Petition, Supporting Emergency Relief, and First Day Motions [Docket No. 48] (“Rajan
Declaration”) in which the Debtors’ organizational and operational structure is described in greater
detail.

In its bankruptcy schedules, the Debtors disclose and describe the assets, including their ownership
interest in direct subsidiaries and their contracts, that the Debtors owned as of March 15, 2023 (the
“Petition Date”). The Debtors’ direct subsidiaries, in turn, hold or may hold ownership interests in
the Debtors’ indirect subsidiaries as depicted on the Debtor’s Organization Chart included in the
Rajans Declaration. The assets of the Debtors’ direct and indirect subsidiaries are not included in
the Debtors’ bankruptcy schedules.

The Debtors intend to complete a recovery of assets which were previously and improperly
transferred in contravention of express provisions of its corporate charter through an invalidated
board settlement agreement as confirmed by the Delaware Supreme Court through an en banc
unanimous decision on June 15, 2022. See Stream TV Networks, Inc. v. Seecubic, Inc., No. 360,
2021, p. 3 (Del. June 15, 2022) (Holding that “a majority vote of Class B stockholders is required
under Stream’s charter” to “transfer pledged assets to secured creditors in connection with what
was, in essence, a privately structured foreclosure transaction”).1 The Delaware Supreme Court
also held that the “agreement authorizing the secured creditors to transfer Stream’s pledged assets
. . . is invalid because Stream’s unambiguous certificate of incorporation required the approval of
Stream’s Class B stockholders.” Id.. at p. 34. (emphasis added).




1
 A debt resolution committee of the Debtor’s Board of Directors purporting to act on the
Debtor’s behalf reached an unauthorized settlement enshrined in an agreement titled as the
Omnibus Agreement, dated May 6, 2021, between the Debtor’s senior secured lender, SLS
Holdings VI, LLC (“SLS”) and the Debtor’s debt resolution committee, which was which
approved by the Delaware Court of Chancery and then held to be invalid by the Delaware
Supreme Court on appeal. Prior to the Delaware Supreme Court ruling the SLS Holdings and its
newly formed company,

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The new company formed by the purported secured lenders,2 SeeCubic, Inc. (“SeeCubic”),3
asserted an ownership interest in all of the Debtor’s assets and took possession of, and in some
cases, destroyed the Debtors’ assets. The Chancery Court, on remand and with direction from the
Delaware Supreme Court to effectuate the dismissal and vacating of its prior injunctive relief, has
made it clear that the assets must be returned both in title and possession to the Debtors.4
Furthermore, the Chancery Court on August 10, 2022, issued an Order Granting Partial Final
Judgment in favor of the Debtor. The order stated: “Pending transfer of the Assets from SeeCubic
to Stream, SeeCubic and all those acting in concert with it shall not use, impair, encumber, or
transfer the Assets, except as necessary to maintain the Assets in the ordinary course of business
and preserve their value pending transfer to Stream.” Rajan Declaration, Exhibit BB. Despite these
clear directives, the purported secured lenders have resisted and continue to resist return of the
assets.

The Debtors have also been alerted to SeeCubic’s violation of intellectual property licenses which
were held by the Debtors and were non-transferable, actions violating third party rights under
applicable Federal and state law which cannot be remedied or cleansed by the invalidated
settlement, even prior to its invalidation by the Delaware Supreme Court. Even before the
Omnibus Agreement was invalidated, the transfers themselves were invalid under both a Phillips
license to the Debtors and a Rembrandt 3D Holding Ltd. (“Rembrandt”) license, both parties not
subject to the settlement or any now invalidated injunctive relief by the Chancery Court.5

The Debtors have been subjected to continuous damage by the purported secured creditors, even
after the Supreme Court decision. SeeCubic, the purported lenders, and Mr. Shad Stastney of
SeeCubic and SLS, were held in contempt by the Delaware Court of Chancery in October 2022
for their orchestrated efforts to seize control of the Debtor’s subsidiary, TechnoVative Media, Inc.,

2
 The Debtors contend that SLS Holdings VI, LLC (“SLS”) and Hawk Investment Holdings
Limited (“Hawk”) hold secured debt convertible to equity or must pursue their claims in chapter
11 where they will be paid in full, if their claims are allowed.
3
  SeeCubic, Inc., a Delaware entity, took its name from a foreign Dutch subsidiary of the
Debtors, SeeCubic B.V. (The Netherlands) (“SCBV”) and is likely in violation of trademark
laws protecting the Debtors and its foreign subsidiary).
4
 On August 9, 2022, nearly 8 weeks after the Delaware Supreme Court opinion, the Chancery
Court issued a TRO against SeeCubic. Vice Chancellor Laster specifically stated his
expectations: “SeeCubic will restore Stream’s assets to Stream in accordance with the Rule 54(b)
order. Once this has occurred, SeeCubic may seek to exercise any creditor’s rights it possesses
against Stream. SeeCubic must do so based on a status quo where Stream has title to and
possession of its assets, not a status quo in which SeeCubic acquired possession based on a
decision that the Delaware Supreme Court has held is erroneous.”
5
 On February 21, 2023, Rembrandt filed suit in the U.S. District Court for the District of Delaware
against parties using the Ultra-D technology without a Rembrandt license. It sued TechnoVative
USA, which was under the direction of the Chancery Court-appointed Receiver, Hawk, and
SeeCubic for trade secret violations and injunctive relief to prevent the sale of Stream’s assets
Rembrandt 3D Holding Ltd v Technovative Media, Inc., Hawk Investment Holdings Ltd. and
SeeCubic, Inc.

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in the months after the Supreme Court decision. In ¶ 3 of his October 3, 2022 Opinion, Vice
Chancellor Laster wrote: “This decision holds that SeeCubic and Hawk engaged in contumacious
conduct. Shad L. Stastney was the puppet master who pulled the strings. He controls SeeCubic
and Technovative, and he also controls SLS Holdings VI, LLC (“SLS”), Stream’s only secured
creditor other than Hawk.” See Rajan Declaration, Exhibit AA.

SLS and SeeCubic possess some and claim to have obtained possession or control of other of the
Debtor’s assets before the Petition Date. The Debtor’s investigation into the location and condition
of its assets is ongoing. The Debtors have listed the assets that they believe they continue to own,
unless otherwise expressly indicated in its bankruptcy schedules. The Debtors intend to pursue
recovery of assets and to operate their business under the provisions of the Bankruptcy Code in
this case.

Additional Notes:

1.      Because US GAAP treatment may not apply to the Debtor’s assets located in foreign
jurisdictions, the values provided for certain assets may differ from typical accounting standards.

2.     Funding advanced by the Debtors to their direct and indirect subsidiaries are reflected in
intercompany loans.

3.    The Debtors’ goodwill and similar intangible value is not reflected in the Debtors’
bankruptcy schedules.

4.     SeeCubic BV (the Netherlands) is a subsidiary of the Debtors, SeeCubic BV (the
Netherlands) is unrelated to and is a separate entity from SeeCubic Inc., a company newly formed
in Delaware by SLS Holdings, Inc.




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                               EASTERN DISTRICT OF PENNSYLVANIA13
                                                         READING DIVISION
    IN RE:                                                                         CHAPTER       11
    Stream TV Networks, Inc.


    DEBTOR(S)                                                                      CASE NO       23-10763



                                            LIST OF EQUITY SECURITY HOLDERS

 Registered Name of Holder of Security                             Class of Security          Number Registered          Kind of Interest
 Last Known Address or Place of Business                                                                                 Registered

 See Schedule attached                                             A

                                         DECLARATION UNDER PENALTY OF PERJURY
                                       ON BEHALF OF A CORPORATION OR PARTNERSHIP

    I, the                   CEO and Director                        of the                        Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the
best of my information and belief.




       March 29, 2023
Date:__________________________________                 Signature:________________________________________________________
                                                                   Mathu Rajan
                                                                   CEO and Director
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Holder                               Class A Common Shares Class B Preferred Shares         Warrants   Options/SARS               FD   Class B Voting   Class C Voting   Economic %            Voting %
Visual Semiconductor, Inc                          63,062                        ‐                 ‐             ‐            63,062           ‐         45,000,000          0.04%              80.06%
Akshaya Holdings LLC                            5,021,551                                                                  5,021,551    19,253,216                           2.81%               8.79%
Mathu Rajan                                        18,200                                          ‐                          18,200        18,200                           0.01%              0.009%
Visual Technology Innovations, Inc                 52,562                                          ‐                          52,562           ‐                             0.03%              0.002%
Glasses‐Free Technologies, Inc.                     9,273                                          ‐                           9,273           ‐                             0.01%             0.0004%
                                                                                                                                                                                      2.889%           88.855%      These companies/entities are controlled by Mathu Rajan and control 88.86% of the Company
Hawk Investment Holdings Limited               89,201,430                 336,645        399,566,883         9,500     489,114,458       1,091,538                          50.09%               4.47% Post conversion as of Oct 2022
Joseph Corso                                    2,782,389                       ‐                  ‐                     2,782,389       1,182,389                           1.56%               0.65%
SLS Holdings VI, LLC                           13,583,605                                 13,226,566                    26,810,171             ‐                             7.60%               0.60%
Vayikra Capital LLC                             4,429,002                        ‐        10,266,248                    14,695,250         495,691                           2.48%               0.42%
Todd D Tuls                                     1,669,062                                    300,000                     1,969,062         739,062                           0.93%               0.40%
Jeffrey A Grossman                                807,480                                     50,000                       857,480         792,480                           0.45%               0.39%
Tom Sego                                        5,110,000                        ‐            26,668                     5,136,668          34,483                           2.86%               0.24%
Billy J. Knott                                    268,003                                          ‐                       268,003         268,003                           0.15%               0.13%
Estate of Harold A Sorgenti                     1,006,009                        ‐                 ‐                     1,006,009         184,232                           0.56%               0.13%
Hadron Master Fund                              2,666,668                                  5,666,668                     8,333,336             ‐                             1.49%               0.12%
MTL Shipping & Investment Ltd                   2,509,448                                 12,985,942                    15,495,390             ‐                             1.40%               0.11%
Raja Rajan                                      2,500,000                                                                2,500,000             ‐                             1.40%               0.11%
Charles William David Birchall                  2,300,000                                  4,233,331                     6,533,331             ‐                             1.29%               0.10%
Broughton Ltd.                                  2,132,080                                    497,316                     2,629,396             ‐                             1.19%               0.09%
Alvaro Ramirez                                    997,761                        ‐                 ‐                       997,761         107,761                           0.56%               0.09%
Pershing Nominees Ltd a/c CCCLT                 1,801,573                                    861,971                     2,663,544             ‐                             1.01%               0.08%
Sonny Mandell                                   1,711,260                                                                1,711,260             ‐                             0.96%               0.08%
Adolfo & Donna Carmona                            451,668                        ‐           483,335                       935,003         125,000                           0.25%               0.08%
Alastair Duncan Hadfield Crawford               1,382,073                                  1,164,584                     2,546,657             ‐                             0.77%               0.06%
Jerry Schwartz                                    114,018                                          ‐                       114,018         114,018                           0.06%               0.06%
Charles Lasley                                    113,702                                          ‐                       113,702         113,702                           0.06%               0.06%
Lawrence Ciarcia                                  113,702                                          ‐                       113,702         113,702                           0.06%               0.06%
Hallfield Holdings SA                           1,250,001                                    833,335                     2,083,336             ‐                             0.70%               0.06%
Vipul Patel                                     1,128,492                        ‐           900,003                     2,028,495           9,216                           0.63%               0.05%
MWL International Ltd                           1,213,152                                  3,866,684                     5,079,836             ‐                             0.68%               0.05%
Nigel Hamilton‐Smith                            1,066,426                                  1,688,221                     2,754,647             ‐                             0.60%               0.05%
Pepper Grove Holdings Limited                   1,055,005                                  1,141,670                     2,196,675             ‐                             0.59%               0.05%
Debt Opportunity Fund, LLC                         94,693                                          ‐                        94,693          94,693                           0.05%               0.05%
Total CFO, LLC                                     94,693                                          ‐                        94,693          94,693                           0.05%               0.05%
St Peter Port Capital                           1,007,913                                                                1,007,913             ‐                             0.56%               0.04%
Eugene Jhong and Jisun Rhee Trust                  86,206                        ‐                 ‐                        86,206          86,206                           0.05%               0.04%
Margaret Valentine                                 75,000                                          ‐                        75,000          75,000                           0.04%               0.04%
Puddles 2 Limited                                 786,337                                          ‐                       786,337             ‐                             0.44%               0.03%
Adrian Conrad Holmes                              785,000                                    930,000                     1,715,000             ‐                             0.44%               0.03%
William & Joanne Jellison                          88,966                        ‐                 ‐                        88,966          68,966                           0.05%               0.03%
Andrew James Roughley                             750,001                                  8,000,000                     8,750,001             ‐                             0.42%               0.03%
Mark Daniel Roughley                              750,001                                  8,000,000                     8,750,001             ‐                             0.42%               0.03%
Dennis Lavin                                      725,000                                  1,000,000                     1,725,000             ‐                             0.41%               0.03%
Ian David Tanner                                  675,000                                  1,083,332                     1,758,332             ‐                             0.38%               0.03%
Jaystyle Limited                                  113,626                        ‐                 ‐                       113,626          51,726                           0.06%               0.03%
John McCrossin                                     57,167                                          ‐                        57,167          57,167                           0.03%               0.03%
Barry Alan Rutledge                                56,851                                          ‐                        56,851          56,851                           0.03%               0.03%
Thomas L. Glen III                                 56,851                                          ‐                        56,851          56,851                           0.03%               0.03%
TR Reddy                                           56,851                                          ‐                        56,851          56,851                           0.03%               0.03%
Windsor International Corporation                 600,000                                  2,800,000                     3,400,000             ‐                             0.34%               0.03%
Sanford Lipstein                                   54,498                        ‐                 ‐                        54,498          54,498                           0.03%               0.03%
Soniya Patel                                       73,154                        ‐                 ‐                        73,154          51,725                           0.04%               0.03%
Neulight Living Trust                             589,267                                          ‐                       589,267             ‐                             0.33%               0.03%
Godefridus Vranken                                576,000                                    300,000                       876,000             ‐                             0.32%               0.03%
Emson Holdings Ltd                                570,000                                  3,800,000                     4,370,000             ‐                             0.32%               0.03%
Walsh CHB, Inc.                                    51,166                                          ‐                        51,166          51,166                           0.03%               0.03%
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Holder                                     Class A Common Shares Class B Preferred Shares        Warrants   Options/SARS               FD   Class B Voting   Class C Voting   Economic %   Voting %
Framse Holding GmbH                                     515,002                                 1,260,000                       1,775,002           ‐                             0.29%      0.02%
Keith O. Newton                                          55,734                                         ‐                          55,734        45,734                           0.03%      0.02%
Lisa Walsh                                              509,878                                         ‐                         509,878           ‐                             0.29%      0.02%
Leonardo Zampatti                                       500,000                                   250,000                         750,000           ‐                             0.28%      0.02%
Londer Securities S.A.                                  500,000                                   250,000                         750,000           ‐                             0.28%      0.02%
Chris Monson / CWM Real Estate
Services, Inc.                                           43,207                                        ‐                          43,207         43,207                           0.02%      0.02%
Lester Amey                                              43,104                        ‐               ‐                          43,104         43,104                           0.02%      0.02%
Michael T and Cheryl A Blakeslee                         42,937                        ‐               ‐                          42,937         42,937                           0.02%      0.02%
Silverwood Enterprises Limited                          121,383                        ‐               ‐                         121,383         34,483                           0.07%      0.02%
Edinburgh Capital Management                            465,000                                  200,000                         665,000            ‐                             0.26%      0.02%
David Weber                                              41,160                                        ‐                          41,160         41,160                           0.02%      0.02%
Batten Trustee Ltd as Trustee of the
Arrow Trust                                             450,001                                   833,335                       1,283,336           ‐                             0.25%      0.02%
Keith Owen Claude Merrick                               450,001                                   441,668                         891,669           ‐                             0.25%      0.02%
Jan‐Age Ronnestad                                        95,748                        ‐          160,040                         255,788        34,483                           0.05%      0.02%
LRC 2011 Trust                                           55,434                        ‐           16,670                          72,104        37,933                           0.03%      0.02%
Intrinsyc Technologies Corporation                      415,346                                         ‐                         415,346           ‐                             0.23%      0.02%
Mark Dyer                                               401,024                                   200,512                         601,536           ‐                             0.22%      0.02%
Kishore Ganji & Srilalitha Bhattaram                     54,483                        ‐                ‐                          54,483        34,483                           0.03%      0.02%
Harry Gierman                                            44,483                        ‐                ‐                          44,483        34,483                           0.02%      0.02%
David Cohen                                              35,269                        ‐                ‐                          35,269        35,269                           0.02%      0.02%
Dr Alex Ortolano                                         34,500                        ‐                ‐                          34,500        34,500                           0.02%      0.02%
Owen Nutto                                               34,300                                         ‐                          34,300        34,300                           0.02%      0.02%
Shadron Stastney                                        360,339                                 1,201,130                       1,561,469           ‐                             0.20%      0.02%
Eamonn Manson                                           351,024                                   175,512                         526,536           ‐                             0.20%      0.02%
Paul Stamatis Jr                                         95,000                        ‐                ‐                          95,000        25,000                           0.05%      0.02%
Stephen M Andress                                        49,313                        ‐           33,335                          82,648        29,312                           0.03%      0.02%
Laurence Catterson and Helen Tonar
Pitt Catterson                                          338,367                                         ‐                        338,367            ‐                             0.19%      0.02%
Bruno Widmer                                             32,500                        ‐                ‐                         32,500         30,000                           0.02%      0.01%
Michael Haggiag Family Trust u/a dtd
1/6/2014                                                325,000                                  350,000                         675,000            ‐                             0.18%      0.01%
Miriam Mandell                                          319,841                                                                  319,841            ‐                             0.18%      0.01%
Mark Andrew Vully De Candole                            316,667                                  150,000                         466,667            ‐                             0.18%      0.01%
David P Lamoreaux                                        29,870                                        ‐                          29,870         28,620                           0.02%      0.01%
Paul Fauci                                               28,425                                        ‐                          28,425         28,425                           0.02%      0.01%
Fred A. Shabel                                          135,999                                        ‐                         135,999         17,156                           0.08%      0.01%
Reyker Nominees Limited                                 303,277                                  234,972                         538,249            ‐                             0.17%      0.01%
Mr AI and Mrs HA Patel A&M
Settlement Trust                                         27,500                        ‐                ‐                          27,500        27,500                           0.02%      0.01%
Sheila Lois Laboda                                       27,288                                         ‐                          27,288        27,288                           0.02%      0.01%
David Taylor                                            300,000                                   150,000                         450,000           ‐                             0.17%      0.01%
S Bruce Rubin                                            42,931                        ‐            5,086                          48,017        25,431                           0.02%      0.01%
Amlin Investments Ltd                                   295,000                                   408,330                         703,330           ‐                             0.17%      0.01%
Leo Hindery, Jr                                         292,596                                 3,193,108     2,000,000         5,485,704           ‐                             0.16%      0.01%
Timothy D.K. Simond                                     292,501                                   608,334                         900,835           ‐                             0.16%      0.01%
Pepper J Frazier and Elizabeth P Frazier
JT Ten                                                   26,250                        ‐               ‐                           26,250        26,250                           0.01%      0.01%
Guy H.A. Chisenhale‐Marsh                               255,000                                  215,000                          470,000           ‐                             0.14%      0.01%
Joseph A Saiia                                           78,515                        ‐               ‐                           78,515        17,245                           0.04%      0.01%
Paul & Rachel Becker                                     22,740                                        ‐                           22,740        22,740                           0.01%      0.01%
Sharon Kostaroff                                         22,740                                        ‐                           22,740        22,740                           0.01%      0.01%
Lapis Ventures SAC Limited                              250,000                                        ‐                          250,000           ‐                             0.14%      0.01%
Sharad Patel                                            249,000                                  830,000                        1,079,000           ‐                             0.14%      0.01%
Antoinette Garrison Trust                                69,992                        ‐               ‐                           69,992        17,500                           0.04%      0.01%
Robert N Garrison Trust                                  69,992                        ‐               ‐                           69,992        17,500                           0.04%      0.01%
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Holder                                   Class A Common Shares Class B Preferred Shares        Warrants   Options/SARS               FD   Class B Voting   Class C Voting   Economic %   Voting %
Sorgenti Investors, L.P.                              243,381                                                                  243,381            ‐                             0.14%      0.01%
Peter Thomas Kaursland                                227,499                                  503,330                         730,829            ‐                             0.13%      0.01%
Alkis P Zingas Trust                                   20,000                        ‐               ‐                          20,000         20,000                           0.01%      0.01%
Quaker Holdings L.P.                                  213,494                                  500,000                         713,494            ‐                             0.12%      0.01%
Adolfo Carmona                                        200,000                                        ‐                         200,000            ‐                             0.11%      0.01%
Cereals & Vegetable Oils Trading Corp
FZE                                                   200,000                                 1,066,664                       1,266,664           ‐                             0.11%      0.01%
Leman Management Nominees Limited                     200,000                                   100,000                         300,000           ‐                             0.11%      0.01%
Jurgen Toorneman                                       27,242                        ‐                ‐                          27,242        17,242                           0.02%      0.01%
Antoinette Garrison                                    17,500                        ‐                ‐                          17,500        17,500                           0.01%      0.01%
Jacob Winigrad                                         17,242                        ‐                ‐                          17,242        17,242                           0.01%      0.01%
Sanford Lipstein, Trustee Eugene
Lipstein                                               17,173                                         ‐                         17,173         17,173                           0.01%      0.01%
James Marussich                                        17,055                                         ‐                         17,055         17,055                           0.01%      0.01%
Larry Schmalz                                          18,370                        ‐                ‐                         18,370         16,370                           0.01%      0.01%
David Walpole, Helene Webb and The
SRB Trustee Company Limited as
Trustees of The DKM Walpole DT                        180,000                                  600,000                         780,000            ‐                             0.10%      0.01%
Mary C McBrearty                                       16,250                        ‐               ‐                          16,250         16,250                           0.01%      0.01%
Charles Neulight                                      171,315                                        ‐                         171,315            ‐                             0.10%      0.01%
Richard E. Carp                                        54,292                                        ‐                          54,292         11,370                           0.03%      0.01%
Brooks W Garrison                                      15,000                        ‐               ‐                          15,000         15,000                           0.01%      0.01%
Robert N Garrison Jr                                   15,000                        ‐               ‐                          15,000         15,000                           0.01%      0.01%
MP Tavill Revocable Trust                              49,250                        ‐          51,668                         100,918         11,250                           0.03%      0.01%
Nicholas Toppin                                       160,183                                                                  160,183            ‐                             0.09%      0.01%
Robert S French Revocable Trust 2018                   20,043                        ‐          19,500                          39,543         13,793                           0.01%      0.01%
Pershing (CI) Nominees Limited a/c
JCCLT                                                 157,269                                         ‐                        157,269            ‐                             0.09%      0.01%
Elizabeth P Frazier                                   156,791                                                                  156,791            ‐                             0.09%      0.01%
Roberto Villaquiran                                   156,539                                                                  156,539            ‐                             0.09%      0.01%
LBJ Investors, LP                                      38,361                                        ‐                          38,361         11,449                           0.02%      0.01%
Charles J Caminada                                    150,000                                   75,000                         225,000            ‐                             0.08%      0.01%
Frank Dearie and Cindy Dearie                         149,574                                        ‐                         149,574            ‐                             0.08%      0.01%
Mark & Sherri Finnegan                                 13,500                        ‐               ‐                          13,500         13,500                           0.01%      0.01%
Bixx Tech Limited                                     147,899                                  333,335                         481,234            ‐                             0.08%      0.01%
Anthony Wigram                                        146,001                                  195,000                         341,001            ‐                             0.08%      0.01%
Spirit Shore Ventures, LLC                             20,000                        ‐               ‐                          20,000         12,500                           0.01%      0.01%
Rafael E Osona and Gail E Osona                        12,931                        ‐               ‐                          12,931         12,931                           0.01%      0.01%
David Lombardi                                         40,311                        ‐               ‐                          40,311         10,094                           0.02%      0.01%
Neil Thacker Maclachan                                140,000                                   70,000                         210,000            ‐                             0.08%      0.01%
Estate of Alfred Waber                                 25,813                                        ‐                          25,813         11,370                           0.01%      0.01%
Susan Spratt and David Spratt                          35,000                        ‐               ‐                          35,000         10,000                           0.02%      0.01%
Primorus Investments PLC                              133,333                                        ‐                         133,333            ‐                             0.07%      0.01%
Sebastian Andrew Marr                                 133,333                                        ‐                         133,333            ‐                             0.07%      0.01%
Timothy John Morton                                   126,030                                  683,233                         809,263            ‐                             0.07%      0.01%
Bowman Sculpture International Ltd                    125,939                                                                  125,939            ‐                             0.07%      0.01%
Peter Jay Gilmore and Susan Florence
Gilmore                                                11,437                                        ‐                          11,437         11,437                           0.01%      0.01%
Stuart Evan Horwich                                    17,781                        ‐           7,000                          24,781         10,781                           0.01%      0.01%
Glen and Peggy Bordak                                  11,370                                        ‐                          11,370         11,370                           0.01%      0.01%
Gregory P. Gifford                                     11,370                                        ‐                          11,370         11,370                           0.01%      0.01%
John R. Bartos                                         11,370                                        ‐                          11,370         11,370                           0.01%      0.01%
Nicholas Ercolano                                      11,370                                        ‐                          11,370         11,370                           0.01%      0.01%
Joan Pileggi                                           11,000                        ‐               ‐                          11,000         11,000                           0.01%      0.01%
Martin Fasack                                          34,514                        ‐               ‐                          34,514          8,621                           0.02%      0.01%
The 2012 Sanford Lipstein Family Trust                119,483                                                                  119,483            ‐                             0.07%      0.01%
Keith Young                                           119,108                                         ‐                        119,108            ‐                             0.07%      0.01%
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Jonathan Gellis                                        10,813                        ‐               ‐                         10,813        10,813                           0.01%      0.01%
Leon J. Dutkiewicz, JR                                 10,782                        ‐               ‐                         10,782        10,782                           0.01%      0.01%
Guy Spelman                                            10,776                        ‐               ‐                         10,776        10,776                           0.01%      0.01%
Keith Gordon Marsden                                  116,898                                  133,335                        250,233           ‐                             0.07%      0.01%
Newman Chittenden                                      28,264                        ‐               ‐                         28,264         8,621                           0.02%      0.01%
Mirdas Limited                                        112,688                                        ‐                        112,688           ‐                             0.06%      0.01%
Bruce Deluca                                           10,000                        ‐               ‐                         10,000        10,000                           0.01%      0.00%
David Blomquist                                        10,000                        ‐               ‐                         10,000        10,000                           0.01%      0.00%
Gordon Michael Howard                                  10,000                        ‐               ‐                         10,000        10,000                           0.01%      0.00%
John W Quaintance III                                  10,000                        ‐               ‐                         10,000        10,000                           0.01%      0.00%
Vincent A Pileggi                                      10,000                        ‐               ‐                         10,000        10,000                           0.01%      0.00%
Sheila Laboda Revocable Trust                          53,013                        ‐               ‐                         53,013         5,178                           0.03%      0.00%
Christopher Matthews                                  100,781                                                                 100,781           ‐                             0.06%      0.00%
Joseph S. Zuritsky                                    100,781                                                                 100,781           ‐                             0.06%      0.00%
Grahame Paul Alan Lovett                              100,500                                  268,000                        368,500           ‐                             0.06%      0.00%
CSS Ltd                                               100,001                                  666,670                        766,671           ‐                             0.06%      0.00%
CSS Recruitment                                       100,001                                        ‐                        100,001           ‐                             0.06%      0.00%
DEAR SPA                                              100,001                                  333,335                        433,336           ‐                             0.06%      0.00%
Joel Pace Kallan                                      100,001                                  333,335                        433,336           ‐                             0.06%      0.00%
Donald E Bates                                        100,000                                  250,000                        350,000           ‐                             0.06%      0.00%
Hanson Holdings Lux S.à r.l.                          100,000                                   50,000                        150,000           ‐                             0.06%      0.00%
RAB Capital Holdings Limited                          100,000                                        ‐                        100,000           ‐                             0.06%      0.00%
WB Nominees Limited                                   100,000                                   91,666                        191,666           ‐                             0.06%      0.00%
George M. Ross Irrevocable Indenture
of Trust dated as of July 29, 1998                     98,564                                                                  98,564            ‐                            0.06%      0.00%
National Financial Services FBO Emilio
DiSanluciano IRA                                        8,862                        ‐               ‐                          8,862          8,862                          0.00%      0.00%
Peter Kaizer                                           22,503                        ‐               ‐                         22,503          7,394                          0.01%      0.00%
Irwin Gruverman                                         8,621                        ‐               ‐                          8,621          8,621                         0.005%      0.00%
John M Apathy & Susan G Apathy                          8,621                        ‐               ‐                          8,621          8,621                         0.005%      0.00%
Oz Ventures, LLC                                        8,621                        ‐               ‐                          8,621          8,621                         0.005%      0.00%
RBC Capital Markets LLC Cust FBO David
W Nock, Roth IRA                                        8,621                        ‐               ‐                          8,621          8,621                         0.005%      0.00%
Warren Scott Hilton & Judith Kenney
Hilton                                                  8,620                        ‐               ‐                          8,620          8,620                         0.005%      0.00%
RBC Capital Markets LLC Cust FBO
Pieter Van Hoeven SEP IRA                               8,276                        ‐               ‐                          8,276          8,276                         0.005%      0.00%
S F Booth                                              87,693                                        ‐                         87,693            ‐                           0.049%      0.00%
Etta Winigrad                                          16,941                        ‐               ‐                         16,941          6,897                         0.009%      0.00%
Jeffrey A. Dominick                                    25,852                                        ‐                         25,852          5,719                         0.014%      0.00%
Gary Ruchaber                                          13,147                        ‐               ‐                         13,147          6,897                         0.007%      0.00%
Joel Vine                                              81,278                                                                  81,278            ‐                           0.045%      0.00%
Larry Evans                                            77,609                                        ‐         24,000         101,609            ‐                           0.043%      0.00%
Jarl Saal                                               7,000                        ‐               ‐                          7,000          7,000                         0.004%      0.00%
Scott Lindell                                           6,897                        ‐               ‐                          6,897          6,897                         0.004%      0.00%
Young Park                                             75,593                                                                  75,593            ‐                           0.042%      0.00%
Leonard I. Korman                                      75,180                                                                  75,180            ‐                           0.042%      0.00%
Hugh Rokeby Holland                                    75,001                                   58,334                        133,335            ‐                           0.042%      0.00%
Nicholas P Wentworth‐Stanley                           75,001                                   58,334                        133,335            ‐                           0.042%      0.00%
Charles David Murch                                    75,000                                  250,000                        325,000            ‐                           0.042%      0.00%
Fourys Co Ltd                                          75,000                                  250,000                        325,000            ‐                           0.042%      0.00%
Guy Henry Toller                                       75,000                                  100,000                        175,000            ‐                           0.042%      0.00%
Joseph J Karcsmar & Rene Laracuente                    75,000                                  250,000                        325,000            ‐                           0.042%      0.00%
Michael Gray                                           75,000                                  250,000                        325,000            ‐                           0.042%      0.00%
Oliroma Holdings SRL                                   75,000                                  350,000                        425,000            ‐                           0.042%      0.00%
Patrick Miles                                          75,000                                  250,000                        325,000            ‐                           0.042%      0.00%
Yask sa                                                75,000                                        ‐                         75,000            ‐                           0.042%      0.00%
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Ronald L Caplan                                      74,505                                                                  74,505            ‐                           0.042%      0.00%
Diane L Buechel Exempt Marital Trust
5/6/09                                               74,430                                                                  74,430            ‐                           0.042%      0.00%
Alan Robert Orchard                                  68,853                                        ‐                         68,853            ‐                           0.039%      0.00%
Charles L. Orr                                       68,281                                                                  68,281            ‐                           0.038%      0.00%
Kathryn Toller                                       67,500                                  195,000                        262,500            ‐                           0.038%      0.00%
Ronald B. Mandell                                    60,560                                        ‐                         60,560            ‐                           0.034%      0.00%
Christopher Ernest Inns                              60,001                                  120,000                        180,001            ‐                           0.034%      0.00%
David Kenneth Michael Walpole                        60,000                                  260,000          9,500         329,500            ‐                           0.034%      0.00%
Lauterstein Consulting Inc.                          60,000                                        ‐                         60,000            ‐                           0.034%      0.00%
Richard Peter Pease                                  60,000                                        ‐                         60,000            ‐                           0.034%      0.00%
Melvin B. Miller                                     59,396                                                                  59,396            ‐                           0.033%      0.00%
Marjonjac LLC                                        57,143                                  166,665                        223,808            ‐                           0.032%      0.00%
George Simon                                          5,173                        ‐               ‐                          5,173          5,173                         0.003%      0.00%
Briana Deluca                                         5,000                        ‐               ‐                          5,000          5,000                         0.003%      0.00%
Danielle Deluca                                       5,000                        ‐               ‐                          5,000          5,000                         0.003%      0.00%
Jill Homorodean                                       5,000                        ‐               ‐                          5,000          5,000                         0.003%      0.00%
Russell Malsam                                       55,000                                        ‐                         55,000            ‐                           0.031%      0.00%
Sarah Caroline Drnec                                 54,152                                        ‐                         54,152            ‐                           0.030%      0.00%
Mark Savarese and John Savarese
JTWROS                                               53,724                                        ‐                         53,724            ‐                           0.030%      0.00%
Walmer Capital Limited                               53,126                                  331,399                        384,525            ‐                           0.030%      0.00%
Brendan O'Neill                                       9,507                        ‐               ‐                          9,507          4,311                         0.005%      0.00%
Kim Herold                                           51,283                                                                  51,283            ‐                           0.029%      0.00%
Edward J Borkowski and Nancy B
McCormick                                            51,003                                        ‐                         51,003            ‐                           0.029%      0.00%
Daniel Erlanger and Beth Erlanger                    50,620                                        ‐                         50,620            ‐                           0.028%      0.00%
Steven Anthony Sussman                               50,250                                   67,000                        117,250            ‐                           0.028%      0.00%
Stephen James Blackford                              50,100                                  167,000                        217,100            ‐                           0.028%      0.00%
Alan Wood                                            50,000                                   66,666                        116,666            ‐                           0.028%      0.00%
Andrew Charles Finnemore Capon                       50,000                                   25,000                         75,000            ‐                           0.028%      0.00%
Elizabeth Anne Merrick                               50,000                                   25,000                         75,000            ‐                           0.028%      0.00%
Henry Guy Merrick                                    50,000                                   25,000                         75,000            ‐                           0.028%      0.00%
Jacopo Franzan                                       50,000                                  166,665                        216,665            ‐                           0.028%      0.00%
Josephine Linden                                     50,000                                   25,000                         75,000            ‐                           0.028%      0.00%
Natasha Imogen Merrick                               50,000                                   25,000                         75,000            ‐                           0.028%      0.00%
Olivia Louise Merrick                                50,000                                   25,000                         75,000            ‐                           0.028%      0.00%
Pains Fireworks Limited                              50,000                                   66,666                        116,666            ‐                           0.028%      0.00%
Richard F.B. Milligan‐Manby                          50,000                                   25,000                         75,000            ‐                           0.028%      0.00%
Matthew Hammond                                      47,920                                        ‐                         47,920            ‐                           0.027%      0.00%
Tarlton Parsons                                      47,667                                        ‐                         47,667            ‐                           0.027%      0.00%
Esther and Murray Alter                              47,500                                  125,000                        172,500            ‐                           0.027%      0.00%
Michele Laboda                                       12,036                        ‐               ‐                         12,036          3,454                         0.007%      0.00%
Alane Laboda                                         10,680                        ‐               ‐                         10,680          3,454                         0.006%      0.00%
Amy L Marz Revocable Trust                           10,680                        ‐               ‐                         10,680          3,454                         0.006%      0.00%
Jacob T. Laboda                                      10,680                        ‐               ‐                         10,680          3,454                         0.006%      0.00%
David Simon                                          45,185                                        ‐                         45,185            ‐                           0.025%      0.00%
Kevin John Gollop                                    45,001                                  210,000                        255,001            ‐                           0.025%      0.00%
Brad Weiner                                          44,711                                                                  44,711            ‐                           0.025%      0.00%
Gene Pendyke                                         44,711                                                                  44,711            ‐                           0.025%      0.00%
Mactaggart & Mickel Investments
Limited                                              44,267                                        ‐                         44,267            ‐                           0.025%      0.00%
Edward Napier Tremayne Miles                         44,250                                  147,500                        191,750            ‐                           0.025%      0.00%
Paul Vincent Adams                                        ‐                  43,110           43,110                         86,220            ‐                           0.024%      0.00%
James Weinstein                                      40,639                                                                  40,639            ‐                           0.023%      0.00%
Andrew L Epstein                                     40,000                                   50,000                         90,000            ‐                           0.022%      0.00%
PCL Investments                                      37,792                                                                  37,792            ‐                           0.021%      0.00%
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Connie J. Braden                                       10,746                        ‐               ‐                          10,746           2,587                         0.006%      0.00%
Adam Bidwell                                           36,000                                   18,000                          54,000             ‐                           0.020%      0.00%
Helen Jane Jenson                                      36,000                                  168,000                         204,000             ‐                           0.020%      0.00%
Helene Kathleen Webb                                   36,000                                  168,000                         204,000             ‐                           0.020%      0.00%
Lisa Ann Walpole                                       36,000                                  168,000                         204,000             ‐                           0.020%      0.00%
James Kenneth Baudains                                 35,964                                        ‐                          35,964             ‐                           0.020%      0.00%
Rachel Baudains                                        35,964                                        ‐                          35,964             ‐                           0.020%      0.00%
Keith B. Ward                                          34,990                                                                   34,990             ‐                           0.020%      0.00%
Walter John Schoendorf Jr                                   ‐                  33,333                 ‐                         33,333             ‐                           0.019%      0.00%
Family Trust created under Stuart A.
Marcus Revocable Trust dated 4‐4‐93,
as amended                                             32,117                                                                   32,117             ‐                           0.018%      0.00%
Geraldine M. Rosato                                    31,240                                                                   31,240             ‐                           0.017%      0.00%
Joan Johnson, Trustee Under
Declaration of Revocable Trust,
December 12, 2012                                      30,812                                                                   30,812             ‐                           0.017%      0.00%
Linda E. Johnson                                       30,812                                                                   30,812             ‐                           0.017%      0.00%
Mark Lombardi                                          30,217                                                                   30,217             ‐                           0.017%      0.00%
Robert and Monique Currie                              30,217                                                                   30,217             ‐                           0.017%      0.00%
Andrew Lawley                                          30,000                                        ‐                          30,000             ‐                           0.017%      0.00%
Andrew Mark Slinger                                    30,000                                  100,000                         130,000             ‐                           0.017%      0.00%
Tammy S Maury and Steven C Maury                       30,000                                   80,000                         110,000             ‐                           0.017%      0.00%
Victoria Alice Slinger                                 30,000                                  100,000                         130,000             ‐                           0.017%      0.00%
David Brookland and Valerie Brookland                  27,849                                        ‐                          27,849             ‐                           0.016%      0.00%
Alvin Block                                            27,426                                                                   27,426             ‐                           0.015%      0.00%
Frederic J Leonard                                     26,851                                        ‐                          26,851             ‐                           0.015%      0.00%
Tracy Anne Pernice                                     25,001                                   33,334                          58,335             ‐                           0.014%      0.00%
Jennifer and Eden Cahan                                25,000                                        ‐                          25,000             ‐                           0.014%      0.00%
Jo Ellen Spitz Trust                                   25,000                                        ‐                          25,000             ‐                           0.014%      0.00%
Kenneth Hanover and Sylvia T Hanover
JTWROS                                                 25,000                                         ‐                          25,000            ‐                           0.014%      0.00%
William Philip Richards                                25,000                                         ‐                          25,000            ‐                           0.014%      0.00%
Dale Phillips                                          22,272                                         ‐                          22,272            ‐                           0.012%      0.00%
John R Clarke                                          22,272                                         ‐                          22,272            ‐                           0.012%      0.00%
Elizabeth Lynn Bruce                                   21,500                                         ‐                          21,500            ‐                           0.012%      0.00%
Edward M Snider Estate                                 20,974                                                                    20,974            ‐                           0.012%      0.00%
Gerald Laboda                                          20,158                                                                    20,158            ‐                           0.011%      0.00%
Jonathan and Elizabeth Raith                           20,133                                                                    20,133            ‐                           0.011%      0.00%
Jonathan Paul Speck                                    20,005                                        ‐                           20,005            ‐                           0.011%      0.00%
Rupert Corfield                                        20,000                                        ‐                           20,000            ‐                           0.011%      0.00%
Jim Saltzman                                           19,473                                   17,850                           37,323            ‐                           0.011%      0.00%
Howard M. Casper                                       17,261                                                                    17,261            ‐                           0.010%      0.00%
Musser Foundation                                      17,261                                                                    17,261            ‐                           0.010%      0.00%
Gordaldo Limited                                       16,667                                 1,041,667                       1,058,334            ‐                           0.009%      0.00%
Eric Neulight and Caroline Neulight                    16,208                                         ‐                          16,208            ‐                           0.009%      0.00%
Gary Ackerman and Valerie Ackerman                     16,208                                    14,857                          31,065            ‐                           0.009%      0.00%
Gregory Allen Doran and Jennifer Burke
Doran                                                  16,208                                                                   16,208             ‐                           0.009%      0.00%
James Gorman and Megan Othersen
Gorman                                                 16,208                                         ‐                         16,208             ‐                           0.009%      0.00%
Katie B Hauer                                          16,208                                         ‐                         16,208             ‐                           0.009%      0.00%
Marc Bozzacco                                          16,208                                                                   16,208             ‐                           0.009%      0.00%
Ray Terwilliger                                        16,208                                   14,857                          31,065             ‐                           0.009%      0.00%
Euripides Psiloyenis                                   15,000                                   40,000                          55,000             ‐                           0.008%      0.00%
Gerald Laboda Revocable Trust                          14,857                                                                   14,857             ‐                           0.008%      0.00%
Mi Sook Han                                            13,551                                                                   13,551             ‐                           0.008%      0.00%
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Ram K. Sreekakula and Vijaya L
Sreekakula JTWROS                                   13,551                                                                  13,551            ‐                           0.008%      0.00%
Peter Musser                                        12,599                                                                  12,599            ‐                           0.007%      0.00%
Steve Atlas                                         12,599                                                                  12,599            ‐                           0.007%      0.00%
Catherine M Mintzer                                 12,500                                        ‐                         12,500            ‐                           0.007%      0.00%
Lawrence Mintzer                                    12,500                                        ‐                         12,500            ‐                           0.007%      0.00%
Rose and James Tarangelo                            12,070                                                                  12,070            ‐                           0.007%      0.00%
Coralroot Limited                                   12,000                                        ‐                         12,000            ‐                           0.007%      0.00%
Eugene J. Lipstein Trust                            11,924                                                                  11,924            ‐                           0.007%      0.00%
Albert, Abram & Ivan Nalibotsky, JT                 11,455                                                                  11,455            ‐                           0.006%      0.00%
Carl H Grossman                                     10,500                                   35,000                         45,500            ‐                           0.006%      0.00%
Gerald A. Mandell                                   10,488                                                                  10,488            ‐                           0.006%      0.00%
James W. and Elizabeth A. Smith                     10,488                                                                  10,488            ‐                           0.006%      0.00%
Judith Goldstein                                    10,488                                                                  10,488            ‐                           0.006%      0.00%
Thomas R. Cronin Trust                              10,488                                                                  10,488            ‐                           0.006%      0.00%
Carol Fries                                         10,044                                                                  10,044            ‐                           0.006%      0.00%
Cottage & Castle Ventures, Inc.                     10,044                                                                  10,044            ‐                           0.006%      0.00%
Daniel Southey                                      10,044                                                                  10,044            ‐                           0.006%      0.00%
Robert and Debra DeCosta                            10,044                                                                  10,044            ‐                           0.006%      0.00%
Cheryl and Thomas Guerin                            10,000                                        ‐                         10,000            ‐                           0.006%      0.00%
Christopher Edward Catling                          10,000                                   10,000                         20,000            ‐                           0.006%      0.00%
Sarena L Snider                                      8,794                                                                   8,794            ‐                           0.005%      0.00%
Ellen Rubin                                          7,448                                        ‐                          7,448            ‐                           0.004%      0.00%
The 2012 Gail Lipstein Family Trust                  7,101                                                                   7,101            ‐                           0.004%      0.00%
Sang Don and Anthony Kim                             6,778                                                                   6,778            ‐                           0.004%      0.00%
Thomas R. Masseria                                   6,778                                                                   6,778            ‐                           0.004%      0.00%
Brian & Robyn Carp                                   6,048                                                                   6,048            ‐                           0.003%      0.00%
Estate of Leonard Siegel                             6,048                                                                   6,048            ‐                           0.003%      0.00%
Larry J. Goldsborough                                6,048                                                                   6,048            ‐                           0.003%      0.00%
Gary Jacobs                                          5,250                                   14,000                         19,250            ‐                           0.003%      0.00%
Nisim Mirakov                                        5,040                                                                   5,040            ‐                           0.003%      0.00%
Vinod and Sailaja Kuruvadi                           5,040                                                                   5,040            ‐                           0.003%      0.00%
Robert A. Zuritsky                                   5,019                                                                   5,019            ‐                           0.003%      0.00%
Karen S Donovan                                      5,000                                   14,000                         19,000            ‐                           0.003%      0.00%
Madan G Moudgal                                      5,000                                        ‐                          5,000            ‐                           0.003%      0.00%
Russell D Coon Jr                                    5,000                                        ‐                          5,000            ‐                           0.003%      0.00%
Elizabeth Garrison Trust                             4,122                                                                   4,122            ‐                           0.002%      0.00%
Jacqueline B. Garrison Trust                         4,122                                                                   4,122            ‐                           0.002%      0.00%
Jennifer Garrison Trust                              4,122                                                                   4,122            ‐                           0.002%      0.00%
Kyle McBrearty Trust                                 4,122                                                                   4,122            ‐                           0.002%      0.00%
Megan McBrearty Trust                                4,122                                                                   4,122            ‐                           0.002%      0.00%
Robert N. Garrison, III Trust                        4,122                                                                   4,122            ‐                           0.002%      0.00%
Yeon Ho Kim                                          4,062                                                                   4,062            ‐                           0.002%      0.00%
A2MI Trinity 2 Partners                              3,750                                        ‐                          3,750            ‐                           0.002%      0.00%
Silverplay Limited                                   3,750                                        ‐                          3,750            ‐                           0.002%      0.00%
Warren Scott Hilton                                  3,750                                        ‐                          3,750            ‐                           0.002%      0.00%
George Xixis                                         2,500                                        ‐                          2,500            ‐                           0.001%      0.00%
Andrew Kim                                           2,016                                                                   2,016            ‐                           0.001%      0.00%
Gary Edelman                                         2,000                                        ‐                          2,000            ‐                           0.001%      0.00%
Harry F Mcann                                        1,356                                                                   1,356            ‐                           0.001%      0.00%
John M Apathy                                        1,250                                        ‐                          1,250            ‐                           0.001%      0.00%
Bernard Spain                                            1                        ‐          87,920                         87,921            ‐                        0.000001%      0.00%
Bernard Spain Family Partnership                         1                        ‐          40,644                         40,645            ‐                        0.000001%      0.00%
Don Freeman                                              1                                        ‐                              1            ‐                        0.000001%      0.00%
Paul Kelly                                               1                        ‐          39,022                         39,023            ‐                        0.000001%      0.00%
Remy Fox                                                 1                        ‐           9,274                          9,275            ‐                        0.000001%      0.00%
Renee Freeman                                            1                                        ‐                              1            ‐                        0.000001%      0.00%
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Holder                              Class A Common Shares Class B Preferred Shares        Warrants   Options/SARS               FD   Class B Voting   Class C Voting   Economic %   Voting %
Wendy Trow‐Fox                                          1                       ‐            4,709                           4,710            ‐                        0.000001%      0.00%
A.C.L.M. Luijks                                         ‐                                   35,500                          35,500            ‐                             0.0%      0.00%
Accrued Agent Warrants                                  ‐                                  700,408                         700,408            ‐                             0.0%      0.00%
AJ Yeh                                                  ‐                                        ‐       15,000             15,000            ‐                             0.0%      0.00%
Amanda Von Ahnen                                        ‐                                        ‐      100,000            100,000            ‐                             0.0%      0.00%
Bart Barenbrug                                          ‐                                        ‐      600,704            600,704            ‐                             0.0%      0.00%
Blake Capital Investments Limited                       ‐                                   18,303                          18,303            ‐                             0.0%      0.00%
Blue Ocean Partners Ltd                                 ‐                                  950,000                         950,000            ‐                             0.0%      0.00%
Bradley Woods & Co Ltd                                  ‐                                  250,000                         250,000            ‐                             0.0%      0.00%
Bram Riemens                                            ‐                                        ‐      532,276            532,276            ‐                             0.0%      0.00%
Bud Robertson                                           ‐                                        ‐      350,000            350,000            ‐                             0.0%      0.00%
Dan Rink                                                ‐                                        ‐      200,000            200,000            ‐                             0.0%      0.00%
Don Freeman & Renee Freeman                             ‐                       ‐           14,431                          14,431            ‐                             0.0%      0.00%
Duncan Humphreys                                        ‐                                        ‐      350,000            350,000            ‐                             0.0%      0.00%
Eric Leenman                                            ‐                                        ‐        7,907              7,907            ‐                             0.0%      0.00%
Eric Singer                                             ‐                                  256,000                         256,000            ‐                             0.0%      0.00%
Francisco Heredia                                       ‐                                        ‐        7,265              7,265            ‐                             0.0%      0.00%
Franklin Rodgers                                        ‐                                        ‐      200,000            200,000            ‐                             0.0%      0.00%
Geoval Consultants LLC                                  ‐                                1,300,000                       1,300,000            ‐                             0.0%      0.00%
Gollop Consulting LLC                                   ‐                                   67,134                          67,134            ‐                             0.0%      0.00%
Grazina Seskeviciute                                    ‐                                        ‐      469,090            469,090            ‐                             0.0%      0.00%
Hans Wouters                                            ‐                                        ‐       15,172             15,172            ‐                             0.0%      0.00%
Hans Zuidema                                            ‐                                        ‐      750,889            750,889            ‐                             0.0%      0.00%
Island Investment Holdings                              ‐                                   63,243                          63,243            ‐                             0.0%      0.00%
Jack Wu                                                 ‐                                        ‐        60,000            60,000            ‐                             0.0%      0.00%
Jasmin Zhang                                            ‐                                        ‐        22,864            22,864            ‐                             0.0%      0.00%
Jason Xu                                                ‐                                        ‐        15,000            15,000            ‐                             0.0%      0.00%
Jeffrey Chan                                            ‐                                        ‐        19,708            19,708            ‐                             0.0%      0.00%
Jing Cao                                                ‐                                        ‐        17,505            17,505            ‐                             0.0%      0.00%
Jolene Sun                                              ‐                                        ‐        15,000            15,000            ‐                             0.0%      0.00%
Joop Martens                                            ‐                                        ‐         8,570             8,570            ‐                             0.0%      0.00%
Kaushik Banerjee                                        ‐                                        ‐       250,000           250,000            ‐                             0.0%      0.00%
Kevin Cabot                                             ‐                                        ‐        50,000            50,000            ‐                             0.0%      0.00%
Leo Riley                                               ‐                                        ‐        70,000            70,000            ‐                             0.0%      0.00%
Lily Wang                                               ‐                                        ‐        15,000            15,000            ‐                             0.0%      0.00%
Linda Wang                                              ‐                                        ‐        15,000            15,000            ‐                             0.0%      0.00%
Liu Zhen                                                ‐                                        ‐        75,000            75,000            ‐                             0.0%      0.00%
Lixin Wang                                              ‐                                        ‐        15,000            15,000            ‐                             0.0%      0.00%
Lizzy Zhou                                              ‐                                        ‐        75,000            75,000            ‐                             0.0%      0.00%
Mark Chen                                               ‐                                        ‐        50,000            50,000            ‐                             0.0%      0.00%
Mark Groot                                              ‐                                        ‐        37,507            37,507            ‐                             0.0%      0.00%
Mark Hsu                                                ‐                                        ‐       375,000           375,000            ‐                             0.0%      0.00%
Mark J Coleman                                          ‐                                1,687,975     1,000,000         2,687,975            ‐                             0.0%      0.00%
Mark R Savarese                                         ‐                                  100,000                         100,000            ‐                             0.0%      0.00%
Marten Voogt                                            ‐                                        ‐         8,843             8,843            ‐                             0.0%      0.00%
Martin Harwig                                           ‐                                        ‐        33,793            33,793            ‐                             0.0%      0.00%
Matt JJ Lo                                              ‐                                        ‐     1,105,500         1,105,500            ‐                             0.0%      0.00%
Michael Cremers                                         ‐                                        ‐        35,536            35,536            ‐                             0.0%      0.00%
Michael F Aguilar                                       ‐                                    3,000                           3,000            ‐                             0.0%      0.00%
Mick McDonald                                           ‐                                        ‐      470,432            470,432            ‐                             0.0%      0.00%
Miriam Banken                                           ‐                                        ‐       10,078             10,078            ‐                             0.0%      0.00%
Misa Itaya                                              ‐                                        ‐       15,000             15,000            ‐                             0.0%      0.00%
Muni Mohan                                              ‐                                        ‐      150,000            150,000            ‐                             0.0%      0.00%
Mutlaq Alzayed                                          ‐                                   66,666                          66,666            ‐                             0.0%      0.00%
Neel Erp                                                ‐                                        ‐        8,220              8,220            ‐                             0.0%      0.00%
Nicole Maneen                                           ‐                                        ‐      100,000            100,000            ‐                             0.0%      0.00%
Pamela Wang                                             ‐                                        ‐       15,000             15,000            ‐                             0.0%      0.00%
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Holder                        Class A Common Shares Class B Preferred Shares          Warrants   Options/SARS             FD   Class B Voting   Class C Voting   Economic %   Voting %
Patric Theune                                     ‐                                         ‐        84,751           84,751            ‐                             0.0%      0.00%
Peter Bergmans                                    ‐                                         ‐        10,691           10,691            ‐                             0.0%      0.00%
Peter Roelen                                      ‐                                         ‐       133,433          133,433            ‐                             0.0%      0.00%
Qiqi Wang                                         ‐                                         ‐        15,000           15,000            ‐                             0.0%      0.00%
Ragu Pati                                         ‐                                         ‐       150,000          150,000            ‐                             0.0%      0.00%
Robert Petch                                      ‐                                    50,874                         50,874            ‐                             0.0%      0.00%
Ronald Jacobs                                     ‐                                   250,000                        250,000            ‐                             0.0%      0.00%
Rosie Zhang                                       ‐                                         ‐         15,000          15,000            ‐                             0.0%      0.00%
Russell Burke                                     ‐                                     7,500                          7,500            ‐                             0.0%      0.00%
S Neelam                                          ‐                                         ‐       150,000          150,000            ‐                             0.0%      0.00%
Sacha Petrovic                                    ‐                                         ‐         7,286            7,286            ‐                             0.0%      0.00%
Sara Robertson                                    ‐                                         ‐        75,000           75,000            ‐                             0.0%      0.00%
Sheeba Rajesh                                     ‐                                         ‐       156,878          156,878            ‐                             0.0%      0.00%
Simon Ford                                        ‐                                         ‐       200,000          200,000            ‐                             0.0%      0.00%
Stefan Riemens                                    ‐                                         ‐         7,816            7,816            ‐                             0.0%      0.00%
Suby Joseph                                       ‐                                         ‐       200,000          200,000            ‐                             0.0%      0.00%
Tonneke Roelen                                    ‐                                         ‐        51,052           51,052            ‐                             0.0%      0.00%
Toon Berkel                                       ‐                                         ‐       216,202          216,202            ‐                             0.0%      0.00%
Vikas Kshetrapal                                  ‐                                         ‐       100,000          100,000            ‐                             0.0%      0.00%
Walther Roelen                                    ‐                                         ‐       896,412          896,412            ‐                             0.0%      0.00%
Wangling                                          ‐                                         ‐        15,000           15,000            ‐                             0.0%      0.00%
Zhu Lin                                           ‐                                         ‐        60,000           60,000            ‐                             0.0%      0.00%
Zygintas Papartis                                 ‐                                         ‐       197,038          197,038            ‐                             0.0%      0.00%
Total (Pre‐HIHL Conversion)            178,355,839                 413,088         513,385,367    12,521,418     704,675,712     26,970,380       45,000,000
